7 . THE STATE. OF NEW HAMPS
Merrimack County Superior Court

163 N. Main Street
FP. O. Box 2880
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603 225-8501
' ORDER OF NOTICE FEB 2 3 2004
LAW DEP

' Binda Muasey v. Sun Life Assurance Co. of Canada
Administrator Estate of Edward Mussey a/k/a Life Insurance Co. of N. America

NO. 04-E-0054 RETURN DAY: 04/06/2004 *

You have been sued and named as a party in a case filed with the
Merrimack County Superior Court. Attached is a‘copy of the pleading
which began this cage. . :

Linda Mussey, Administrator Estate of Edward Mugsey shall notify

each Defendant of the above action by serving the defendant (s). by

March 22, 2004 with a copy of the pleading initiating the case,

orders that the Court has already issued, and this Order in a manner

allowed by law. Plaintiff shall file with the Clerk verification of
' the service process by April 06, 2004.

IMPORTANT NOTICE TO Sun Life Assurance Co. of Canada, a/k/a Life
Insurance Co. of N. America:

You must file 4 written. appearance form with the Clerk on: or before
April 06, 2004/ You must also file by May 06, 2004 a. plea, answer
or demurrer. Send a copy of the appearance form and any other
documents filed with the court to the attorney for the party filing
the pleading or to the party if there is no attorney. The name and
address of the attorney or the party filing the pleading is
contained in the pleading. If you'do not comply with these
requirements you will be considered in default, you will not have an
opportunity to diapute the claim(s) and the court may issue orders
in this. matter which may affect you without your input.

Seat of

BY ORDER OF THE SUPERIOR COURT

lh LM dh.

Wiliam McGraw
Clerk of Court

02/12/2004

AOC Form: SUEPI4 (Rey. 09/20/2001)

NOTICE

Pursuant to Laws 2002, Chapter 264 and Supreme Court
Order of June 10, 2002 each party to any noncriminal
case filed on or after July 1, 2002 in Mérrimack County
Superior Court may request that one Justice or, in
Domestic Relations cases, one Marital Master, not be
assigned to the case. Any such request must be submitted
in writing. and signed by the party or the party’s
attorney... The request must be filed with the. court no
later than 30 days after the return date or 3 business

days before the first hearing, whichever occurs first.

The following. Justices and Marital Masters are

currently assigned to Merrimack County Superior Court :

Associate Justice Kathleen A. McGuire

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Assoct ta,

Associate Justice Timothy J. Vaughan
Associate Justice Steven M. Houran
Marital Master Deborah K. Rein
‘Marital Master Michael H. Garner

Other Justices who are routinely assigned from time
to time include:

_ Retired Senior Justice George L. Manias -
Chief Justice Walter L. Murphy

Nothing herein should be construcd as limiting the
assignment of other Superior Court Justices and Marital
Masters as circumstances warrant. A complete list of
Justices and Masters can be obtained from ther office of

the Clerk of ‘Court.

William Ss. McGraw, Clerk of Court

March 28, 2003

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The State of Neto Hampshire

MERRIMACK, 3S SUPERIOR COURT

LINDA MUSSEY, ADMINISTRATOR OF THE
ESTATE OF EDWARD MUSSEY

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ye
SUN LIFE ASSURANCE COMPANY OF CANADA,
A/X/A LIFE INSURANCE COMPANY OF NORTH AMERICA

PETITION FOR DECLARATORY JUDGMENT

NOW COMES Linda Muasey, Individually and as
Administrator of the Estate of Edward Mussey of PO Box
6136, Franklin, New Hampshire, 03235 and petitions this
Honorable Court to enter a declaratory judgment against Sun
Life Assurance Company of Canada, a/k/a Life Insurance
Company of North America of One Sun Life Executive Park,
Wellesley Hills, Massachusetts, 02481-5699 and in support
thereof states as follows:

1. This is a declaratory judgment action in
accordance with New Hampshire RSA 491:22 to
determine the legal relationship between the
parties.

2. The plaintiff represents her individual interests
as a potential beneficiary, as well as the
interests as Administrator of the Eetate of her
late. spouse, Edward Mussey, who died on 04/30/1

(See Enclosure 1).

The defendant issued a voluntary Accidental Death

and Disability Policy to the plaintiff through his

‘employment with Watts Regulator/Webster Valve

which included a $100,000.00 death benefit should

‘the, insured die by accidental injury (See

Enclosure 2}.

The late Edward Mussey paid the entirety of the
premiums on said policy until his death on
04/30/01.

The defendant's policy includes a provision under
ita policy entitled:

Legal Actions: no action at law or in equity
shall be brought to recover on this policy
prior to the expiration of sixty days after
written proof of loss has been furnished in
accordance with the requirements of thig
policy. No such action shall be brought
after the expiration of three years (or the
minimum time, of more than three years,
permitted by law in the State where the
insured resides) after the time written
proof of loss is required to be furnished.
(See Enclosure 2, page 32) -

The “written proof of loss” was sent on 11/01/01
triggering the above limitation periods (See
Enclosure 3).

The defendant declined payment under the policy on

12/03/02 (See Enclosure 4) to which the plaintiff

requested an extension that was never acknowledged

(See Enclosure 5).

The plaintiff's instant action is with the
parameters of defendant’s contractual limitations
period (See Enclosure 2, page 32).

As the plaintiff died by accidental means, the
plaintiff is entitled to benefits wrongfully

withheld by the defendant.

WHEREFORE, the petition respectfully requests that

a.

‘this Honorable Court:

Enter a declaratory judgment in this matter

stating that the petitioner is entitled to

coverage benefits up to the policy limits;

Order the respondent to pay the petitioner’s cost

and reasonable legal fees in pursing this matter;

and

Grant such other and further relief as this

Honorable Court deems to be just and appropriate.
Respectfully submitted,

Linda Mussey
By and through counsel

Christopher J. Seufert’, Esquire
59 Central Street

Franklin, New Hampshire 03235
(603) 934-9837

